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                      UNITED STATES DISTRICT COURT
                                                                   FILED
                                                                          JUL 2 s     2019
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION                          Judge Edmond E. Chano
                                                                     United States District Couirt
UNITED STATES OF AMERICA
                                                   No. 19 CR 573
       v.
                                                   Judge Edmond E. Chang
ROBERT W. WAKSMUNDZKI,
            also known as "Flippy''


                              PLEA AGREEMENT

      1.    This PIea Agreement between the United States Attorney for the

Northern District of Illinois, JOHN R. LAUSCH, JR., and defendant ROBERT W.

WAKSMUNDZKI, and his attorney, STEVEN R. HUNTER, is made pursuant to

Rule 11 of the Federal Rules of Criminal Procedure. The parties to this Agreement

have agreed upon the following:

                              Charges in This Case

      2.    The information   in this case charges    defendant with conspiracy to

commit criminal infringement of a copyright, in violation of Title 18, United States

Code, Sections 371 (Count One); and   filing a false return, in violation of Title 26,

United States Code, Section 7206(l) (Count Two).

      3.    Defendant has read the charges against          him contained in         the

information, and those charges have been fully explained to him by his attorney.

      4.    Defendant fully understands the nature and elements of the crimes with

which he has been charged.
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                     Charees to Which Defendant Is Pleadine Guilty

         5.     By this Plea Agreement, defendant agrees to enter a voluntary plea of

guilty to the following counts of the information: Count One, which charges d.efendant

with conspiracy to commit criminal infringement of a copyright, in violation of
Title   18, United States Code, Sections 371; and Count Two, which charges defendant

with filing   a false   return, in violation of Title 26, United States Code, Section 7206(L).

In addition, as further provided below, d.efendant agrees to the entry of a forfeiture
judgment.

                                         Factual Basis

        6.      Defendant     will plead guilty   because he is   in fact guilty of the charges

contained in Counts One and Two of the information. In pleading guilty, defendant

admits the following facts and that those facts establish his guilt beyond a reasonable

doubt and constitute relevant conduct pursuant to Guideline $ 181.3, and establish

a basis for   forfeiture of the property described elsewhere in this Plea Agreement:

                a.       With respect to Count One of the information:

        Beginning on or about.July 15, 2003, and continuing to on or about June              4,

2015, in the Northern       District of Illinois, Eastern Division, and elsewhere, defendant

ROBERT S. WAKSMUNDZKI, also known as "Flippy," conspired with Individual A

and others known and unknown, to wiIIfuIIy, and for purposes of commercial

advantage and private financial gain, infringe a copyright by distribution of a work

being prepared for commercial distribution, by making              it   available on a computer
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network accessible to members of the public, when defendant knew and should have

known that the work was intended for commercial distribution, in violation of

Tit1e 17, United States Code, Section 506(a)(1)(C) and Title 18, United States Code,

Section 2319(d)(2).

      Specifically, beginning no later than July.15, 2003, and continuing to on or

about June 4, 2015, defendant and Individual A owned and operated a series of

websites    with "torrerttz" it). the domain, including: torrentz.coml torrentz.eu,
torrentz.ch, torrentz.cx, torrentz.hk, torrentz.in, torrentz.li, torrentz.me,
torrentz.mx, and torrentz.ph, and torrentz-proxy.com (individually and collectively,

"Torrentz"). Defendant and Individual A designed, developed, and operated Torrentz

in order to encourage, induce, facilitate, engage in, and generate millions of dollars

from the unlawful reproduction and distribution of copyright-protected media,
including movies (some of which were still playing in theaters), television shows,

rnusic, video games, computer software, and electronic books, without permission of

the copyright holder. Defendant resided in Chicago and Palos HiIIs, Illinois, and

operated Torrentz from his home. Defendant also was the owner, agent, and sole

member of Waksmundzki, LLC, through which he conducted activities related to

Torrentz.

      Initially, movies, television shows, music, and other copyright-protected media

were made available on Torrentz, assisting visitors to the site to acquire copyright-

protected media through BitTorrent technology. Later, defendant reconfigured
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Torrentz so that      it   operated as   a search engine for other websites that made
copyright-protected med.ia-including works being prepared               for   commercial

distribution-available to visitors. Visitors to Torrentz could search for and locate

copyright-protected media, and they would then be redirected to the other sites,

through which they could acquire through BitTorrent technology copyright-protected

media without the lawful copyright owners' permission. Although there \ryere non-

infringing torrents on his website (for works that copyright protection had expired),

defendant was aware that the vast majority of visitors used Torrentzto seek out and

acquire copyright-protected media, and that was the website's primary function and

benefit. Indeed, defendant himself used Torrentz to fi.nd and acquire copyright-

protected media.

          Starting by at least 2003, defendant identified websites that purported to make

copyrighted materials available to visitors through BitTorrent technology. Defendant

then contacted. the operators ofthese websites, and requested. that the operators add

code to   their websites to permit Torrentz to more efficiently retrieve information from

them. Torrentz then used this information to assist users           in their search for
copyrighted materials. Dozens of websites offering copyright-protected media agreed

to, and did, include such code, including Website A, Website B, Website C, Website

D, and Website E. Defendant then created and caused to be created code that
permitted Torrentz visitors to be re-routed to the other websites to assist the visitors'

subsequent acquisition        of copyrighted materials. Defendant knew this was a
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mutually beneficial relationship: Torrentz received more visitors because the site

efficiently pulled information from the other websites, and Torrentz redirected

visitors to those websites with which it was associated, increasing their traffic and

ability to generate income. Defendant knew      it was unlawful   to provide access to

copyright-protected works without the permission of the copyright holder.

      Defendant monetized Torrentz by soliciting advertisements for the site.

Defendant knew that increased visitor traffic would lead to higher revenue, and that

visitor traffic was dependent on the ease #ith which visitors to Torrentz could find

and acquire copyrighted materials, including work being prepared for commercial

distribution. Advertisers on Torrentz made payments into bank accounts defendant

controlled. Defendant acknowledges that, between January 1, 2009 and March 31,

2015, advertisers deposited not less than $9,829,078 into bank accounts he controlled,

and that these funds were payments for advertisements on Torrentz. Defendant

further acknowledges that up to $9,500,000 of these revenues were the result of

Torrentz assisting visitors in their effort to acquire copyright-protected media.

      In furtherance of the conspiracy and to accomplish its unlawful       objectives,

defendant committed and caused to be committed numerous overt acts              in   the

Northern District of Illinois and elsewhere, including the following: (a) on or about

July 15, 2003, defendant rented and caused to be rented the website            d"omain

torrentz.com; (b) on or about April 7, 2006, defendant rented and caused to be rented

the website domain torrentz.eu; (c) on or about January 8,2OL4, defendant sent and
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caused to be sent to Individual A payment of approximately $24,726 as compensation

for Individual A's   assistance   in the operation of Torrentz; (d) on or about
November 13, 2014, defendant sent an email to a representative of Advertiser A

regarding a payment issue with the company's advertisements on Torrentz; and

(e) on or about March 18, 2015, defendant           caused Advertiser       B to   deposit

approximately $117,982 into a Citibank checking account controlled by defendant,

account number xxxxx8052, as payment for the company's advertisements on

Toruentz, aII in violation of Title 18, United States Code, Sections 371.

              b.    With respect to Count Two of the information:

      On or about April 18, 2011, in the Northern District of Illinois, Eastern

Division, and elsewhere, defendant ROBERT S. WAKSMUNDZKI, also known as

"Flippy," willfully made and subscribed, and caused to be made and subscribed, a

U.S. Individual Income Tax Return (Form 1040 with schedules and attachments), for

the calendar year 2010, which return was verified by written declaration that       it   was

made under the penalties of perjury and was fi.Ied with the Internal Revenue Service,

which return he did not believe to be true and correct as to every material matter, in

that said return reported on the Schedule C (Profit or Loss from Business) that the

net profit from Waksmundzki LLC was $257,957, when defendant knew that
Waksmundzki LLC had a net profit that substantially exceeded that amount, in

violation of Title 26, United States Code, Section, 7206(L).




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      Specifically, defendant received through Waksmundzki LLC payment from the

companies that advertised on the Torrentz websites. The advertising payments were

income and were deposited into accounts defendant controlled. Defendant utilized the

services of a tax preparer, and for 2009 and 2010, he provided the preparer      with his

bank statements. Those statements documented his income. The tax preparer then

prepared defendant's federal income tax returns. In 2009, the defendant suggested to

the preparer that the income figure was low based on his tax return, but after

discussing   it with the preparer, defendant did not challenge the return because the
preparer told him he could file the return with the lower income figure. After the

returns were prepared, defendant reviewed them, signed them and caused them to

be filed, and declared under penalty of perjury that the information contained therein

was true and accurate to the best of his knowled.ge, despite knowing that the income

listed was incorrect and too low.

      On his federal income tax return for the tax year 2009 (Form 1040), d.efendant

reported total income of $418,999, which he knew at the time was a false statement

because   it did not include advertising revenue.of at least approximately   $412,383. On

his federal tax return for the tax year 2010 (Form 1040), defendant reported total

income of $1,103,408, which he knew at the time was a false statement because       it did

not include advertising revenue of at least approximately $139,239. By failing to

accurately report Waksmundzki LLC's gross receipts, defendant also underreported

his net profit from operating the company. For tax year 2010, defendant's Schedule
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C (Profit or Loss from Business) claimed that his net profit from Waksmundzki LLC

was g257,957, when defendant knew that Waksmundzki LLC had a net profi.t that

substantially exceeded that amount.

      Defendant's material misrepresentations regarding his income for tax years

2009 and 2010 caused losses to the United States Department of Treasury, Internal

Revenue Service of approximately $145,049 and $49,117, respectively, for a total of

$194,166.

      7.     The foregoing facts are set forth solely to assist the Court in determining

whether a factual basis exists for defendant's plea of guilty and criminal forfeiture,

and are not intended to be a complete or comprehensive statement of all the facts

within defendant's personal knowledge regarding the charged crimes and related
conduct.

                          Maximum Statutory Penalties

      8.     Defendant understands that the charges to which he is pleading guilty

carry the following statutory penalties:

             a.     Count One carries a maximum sentence of     5   years'imprisonment.

Count One also carries a maximum fine of $250,000, or twice the gross gain or gross

Ioss resulting from that offense, whichever is greater. Defendant further understands

that with respect to Count One, the judge also may impose a term of supervised
release of not more than three years.
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             b.     Count T\vo carnes a maxlmum sentence of    3   years'imprisonment.

Count T\vo also carries a maximum fine of $250,000, or twice the gross gain or gross

loss resulting from that offense, whichever is greater. Defendant further understands

that the Court must order costs of prosecution, estimated not to          exceed $500.

Defendant further understands that with respect to Count Two, the judge also may

impose a term of supervised release of not more than one year.

      9.     Defendant further understands that the Court must order restitution to

the victims of the offense in an amount determined by the Court unless    it determines
that restitution is not applicable because determining complex issues of fact related

to the cause or amount of the victim losses would complicate or prolong the sentencing

process to a degree that the need to provide restitution to any victim is outweighed

by the burden on the sentencing process. The Court also may order restitution to any

persons as agreed by the parties.

      10.    Pursuant to Title 18, United States Code, Section 3013, defendant     will
be assessed $100 on each count to which he has pled guilty,   in addition to any other
penalty or restitution imposed.

      11.    Therefore, under the counts to which defendant is pleading guilty, the

total maximum sentence is 8 years' imprisonment. In addition, defendant is subject

to a total maximum fine of $350,000, or twice the gross gain or gross loss resulting

from the offenses of conviction, whichever is greater, mandatory costs of prosecution,




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a period of supervised release, and special assessments totaling $200,       in addition to

any restitution ordered by the Court.

                          Sentencing Guidelines Calculations

      L2.     Defendant understands that        in determining a sentence, the Court     is

obligated to calculate the applicable Sentencing Guidelines range, and to consider

that range, possible departures under the Sentencing Guidelines, and other
sentencing factors under 18 U.S.C. S 3553(a), which include: (i) the nature and

circumstances of the offense and the history and characteristics of the defendant;

(ii) the need for the sentence imposed to reflect the seriousness of the offense, promote

respect for the law, and provide just punishment for the offense, afford adequate

deterrence   to criminal conduct, protect the public from further crimes of the
defendant, and provide the defendant with needed educational or vocational training,

med.ical care, or other correctional treatment      in the most effective manner; (iii) the

kinds of sentences available; (iv) the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar

conduct; and (v) the need to provide restitution to any victim of the offense.

      13.     For purposes of calculating the Sentencing Guidelines, the parties agree

on the following points:

              a.       Applicable Guidelines. The Sentencing Guidelines to              be

considered   in this   case are those   in effect at the time of sentencing. The following

statements regarding the calculation of the Sentencing Guidelines are based on the


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Guidelines Manual currently         in effect, namely the November 2018 Guidelines
Manual.

                 b.      Offense Level Calculations.

                 Count One:

                       i.      The base offense level         is 8 pursuant to   Guideline

SS   2X1.1(a) and 2B5.3(a).

                      ii.      The offense level   is   increased 18 levels pursuant to

Guideline   SS   285.3@)(1)(8) and 281.1(b)(l)(J), because the infringement amount was

more than $3.5 million but not more than $9.5 million.

                      rii.     The offense level is increased two levels pursuant to

Guideline S 285.3&)(2), because the offense involved the display, performance,

publication, reproduction, or distribution of a work being prepared for commercial

distribution.

                      iv.      The offense level is increased two levels pursuant to

Guideline     S 285.3(b)(3XA),     because   the   offense involved     the   manufacture,

importation, or uploading of infringing items

                 Count Tlvo:

                       v.      The base offense level    is   16 pursuant to Guideline   SS


2T1.1(a)(1) and 2T4.1(F), because the tax loss was more than $100,000 but not more

than $250,000.




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                 Combined Offense Level:

                     iri.     Pursuant to Guideline $ 3DL-2, Counts One and Two each

constitute a separate Group for purposbs of determining the combined offense level.

                    vii.      Pursuant to Guideline $ 3D1.4(c), Count One counts as one

Unit and Count Two is disregarded because it is nine or more levels less serious than

the Group with the highest offense level. Therefore, the combined offense level for

Counts One and Two is 30.

                   viii.      Defendant has clearly demonstrated a recognition and

affirmative acceptance of personal responsibility for his criminal conduct.          If the
government does not receive additional evidence in conflict with this provision, and

if defendant continues to accept responsibility for his actions within the meaning of

Guideline   S   3E1.1(a), including by furnishing the United States Attorney's Office and

the Probation Office with all requested financial information relevant to his ability to

satisfu any fine or restitution that may be imposed in this case, a two-level reduction

in the offense level is appropriate.

                    ix.       In accord with Guideline   S   3E1.1(b), defendant has timely

notified the government of his intention to enter a plea of guilty, thereby permitting

the government to avoid preparing for trial and permitting the Court to allocate its

resources efficiently. Therefore, as provided by Guideline $ 3E1.1(b),         if the Court
determines the offense level to be 16 or greater prior to determining that defendant




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is entitled to a two-level reduction for acceptance of responsibility, the government

will   move for an additional one-level reduction in the offense level.

                   c.     Criminal History Category. With regard to determining
defendant's criminal history points and criminal history category, based on the facts

now known to the government, defendant's criminal history points equal zero and

defendant's criminal history category is I.

                   d.     Anticipated Advisory Sentencing Guidelines               Range.

Therefore, based on the facts now known to the government, the anticipated offense

level is   27 ,   which, when combined with the anticipated criminal history category of I,

results in an anticipated advisory sentencing guidelines range of 70 to 87 months'

imprisonment, in addition to any supervised. release, fine, and restitution the Court

may impose.

         14.       Defendant and his attorney and the government acknowledge that the

above guidelines calculations are preliminary            in   nature, and are non-hinding

predictions upon which neither party is entitled to rely. Defendant understands that

further review of the facts or applicable legal principles may lead the government to

conclude      that different or additional guidelines provisions apply in this        case.

Defendant understands that the Probation Office will conduct its own investigation

and that the Court ultimately determines the facts and law relevant to sentencing,

and that the Court's determinations govern the final guideline calculation.
Accordingly, the validity of this Agreement is not contingent upon the probation


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officer's or the Court's concurrence with the above calculations, and defendant shall

not have a right to withdraw his plea on the basis of the Court's rejection of these

calculations.

      15.       Both parties expressly acknowledge that this Agreement is not governed

by Fed. R. Crim. P. 11(c)(1)(B), and that errors in applying or interpreting any of the

sentencing guidelines may be corrected by either party prior        to sentencing.    The

parties may correct these errors either by stipulation or by a statement to the

Probation Office or the Court, setting forth the disagreement regarding the applicable

provisions of the guid.elines. The validity of this Agreement   will not be affected   by

such corrections, and defendant shall not have a right to withdraw his plea, nor the

government the right to vacate this Agreement, on the basis of such corrections.

                                      Cooperation

       16.      Defendant agrees he will fully and truthfully cooperate in any matter in

which he is called upon to cooperate by a representative of the United States

Attorney's Offrce for the Northern District of Illinois. This cooperation shall include

providing complete and truthful information         in any investigation and'pre-trial
preparation and complete and truthful testimony            in any criminal, civil,      or

administrative proceeding, including,       if   requested, testimony   in   foreign legal

proceedings. Defendant agrees to the postponement of his sentencing until after the

conclusion of his cooperation.




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                        Agreements Relating to Sentencing

        t7   - At the time of sentencing, the government      shall make known to the

sentencing judge the extent of defendant's cooperation. If the government determines

that defendant has continued to provide full and truthful cooperation as required by

this Agreement, then the government shall move the Court, pursuant to Guideline

S   5K1.1, to depart from the low end of the applicable guideline range, and shall

recommend a sentence that includes a term of imprisonment          in the custody of the

Bureau of Prisons of 66 percent of the low end of the applicable guideline range.

Defendant shall be free to recommend any sentence. Defendant understands that the

decision to depart from the applicable guideline range rests solely with the Court.

        18. If the government     does not move       the Court, pursuant to Guideline

S   5K1.1, to depart from the applicable guideline range, as set forth above, the

preceding paragraph of this Agreement will be inoperative, both parties shall be free

to recommend any sentence, and the Court shall impose a sentence taking into
consideration the factors set forth   in   18 U.S.C. S 3553(a) as well as the Sentencing

Guidelines without any downward departure for cooperation pursuant to $ 5K1.1.

Defendant may not withdraw his plea of guilty because the government has failed to

make a motion pursuant to Guideline $ 5K1.1.

        19. It is understood   by the parties that the sentencing judge is neither a

party to nor bound by this Agreement and may impose a sentence up to the maximum

penalties as set forth above. Defendant further acknowledges that if the Court does


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not accept the sentencing recommendation of the parties, defendant will have no right

to withdraw his guilty plea.

         20.    Regarding restitution as to Count One, the parties agree that restitution

is not applicable because determining complex issues of fact related to the cause or

amount of the victim losses would complicate or prolong the sentencing process to a

degree   that the need to provide restitution to any victim is outweighed by the burden

on the sentencing process.

         21.    Defendant agrees to pay restitution arising from Count Two and the

relevant conduct set forth above, totaling $194,166, to the United States Department

of the Treasury,   Internal Revenue Service, pursuant to Title 18, United States   Code,

Sections 3663(a)(3) and 3664. Defendant understands that the amount of tax loss as

calculated by the Internal Revenue Service may exceed the amount of tax due as

calculated for restitution in the criminal case.

         22.    Restitution shall be due immediately, and paid pursuant to a schedule

to be set by the Court at sentencing. Defendant acknowledges that pursuant to

Title 18, United States Code, Section 3664(k), he is required to notifii the Court and

the United States Attorney's Office of any material change in economic circumstances

that might affect his ability to pay restitution.

         23.    Defendant agrees to pay the special assessment of $200 at the time of

sentencing     with a cashier's check or money order payable to the    C1erk of the U.S.

District Court.


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         24.   Defendant agrees that the United States may enforce collection of any

fine or restitution imposed in this case pursuant to Title 18, United States           Code,

Sections 3572,3613, and 3664(m), notwithstanding any payment schedule set by the

Court.

                                       Forfeiture

         25.   Defendant understands that by pleading guilty, he          will   subject to

forfeiture to the United States all right, title, and interest that he has in any property

constituting or derived from proceeds obtained, directly or indirectly, as a result of

the offense.

         26.   Defendant agrees to forfeiture of the following specific property to the

United States: $5,414,561 currently held         in the custody of the Department of
Homeland Security. In doing so, defendant admits that the property described above

represents proceeds defendant obtained as a result of the offense, as alleged in the

information. Defendant consents to the immediate entry of a preliminary order of

forfeiture as to this specific property, thereby extinguishing any right, title, or

interest d.efendant has in it. If any of the specific property is not yet in the custody of

the United States, defendant agrees to seizure of that property so that          it   may'be

disposed of according to law.

         27.   In addition, defendant agrees to the entry of a personal money judgment

in the amount of $9,829,078 which represents the total amount of proceeds traceable

to the offense charged in Count One of the information. Defendant consents to the


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immediate entry of a preliminary order of forfeiture setting forth the amount of the

personal money judguent he will be ordered to pay. The parties agree that the

95,414,561 currently in the custody of the Department of Homeland Security     will   be

applied to the personal money judgment.

        28.   Defendant admits that because the directly forfeitable property, other

than the specific property noted above, is no longer available for forfeiture         as

described   in Title 21, United States Code, Section 853(p)(1), the United States is
entitled to seek forfeiture of any other property of defendant, up to the value of the

personal money judgment, as substitute assets pursuant to Title 21, United States

Code, Section 853(p)(2).

        29.   Defendant understands       that forfeiture shall not be treated        as

satisfaction of any fine, restitution, cost of imprisonment, or any other penalty the

Court may impose upon defendant in addition to the forfeiture judgment.

        30.   Defendant agrees to waive and abandon any right, title, or interest he

has   in the following property currently held in the custody of the Department of
Homeland Security: (a) three ASUS RS160-E5 servers; (b) ten ASUS RS100-E5

servers; (c) one Vizio television; (d) one Media Sonic Probox; (e) one Gateway laptop;

(f) one MacBook Air; (g) one MacBook Pro; (h) one iPad Two; (i) one Super Micro

Server; and (i) associated accessories.

        31.   Defendant understands that the government, after publication of notice

to others who may have an interest in the property, will seek an order of

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abandonment from the Court, thereby authorizing the United States to destroy or

otherwise dispose of such property according to law. Defendant understands that

abandonment of this property shall not be treated as satisfaction of any fine, cost of

imprisonment, or any other penalty the Court may impose.

       32.      Defendant does not object to the entry of a forfeiture judgment as to a

Chase checking account ending        in   -1739   in the name of "Waksmundzki, L.L.C.,"
containing approximately $608,000, because defendant has no ownership or other

interest in that property. Defendant consents to the immed.iate entry of   a   preliminary

order of forfeiture as to this specific property, thereby extinguishing any right, title,

or interest defendant has in it.

       33.      Defendant agrees to waive all constitutional, statutory, and equitable

challenges    in any manner, including but not limited to direct appeal or a motion
brought under Title 28, United States Code, Section 2255, to any forfeiture and/or

abandonment carried out        in   accordance     with this agreement on any     grounds,

including that the forfeiture constitutes an excessive fine or punishment. The waiver

in this paragraph does not apply to a claim of involuntariness or ineffective assistance

of counsel.

              Acknowledgments and Waivers Regardins Plea of Guilty

                                   Nature of Agreement

       34. This Agreement is entirely voluntary and represents the entire
agreement between the United States Attorney and defendant regarding defendant's


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criminal liability in United States u. Robert S. Wahsmundzhi,19 CR 573.

      35.     This Agreement concerns criminal liability only. Except as expressly set

forth in this Agreement, nothing herein shall constitute a limitation, waiver, or
release by the United States or any of its agencies of any administrative or judicial

civil claim, demand, or cause of action it may have against defendant or any other

person or entity. The obligations of this Agreement are limited to the United States

Attorney's Office for the Northern District of Illinois and cannot bind any other

federal, state, or local prosecuting, administrative, or regulatory authorities, except

as expressly set forth in this Agreement.

      36.     Defend.ant understands   that nothing in this Agreement shall limit the

Internal Revenue Service in its collection of any taxes, interest or penalties from

defendant. Defendant understands that the amount of tax as calculated by the IRS

maJa exceed   the amount of tax due as calculated for the criminal case.

                                   Waiver of Rights

       37.    Defendant understands that by pleading guilty he surrenders certain

rights, including the following:

               a.    Right to be charged by indictment. Defendant understands

that he has a right to have the charges prosecuted by an indictment returned by       a

concurrence of twelve or more members of a grand       jury consisting of not less than

sixteen and not more than twenty-three members. By signing this Agreement,

defendant knowingly waives his right to be prosecuted by indictment and to assert at
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trial or on appeal any     defects or errors arising from the information, the information

process, or the fact that he has been prosecuted by way of information.

             b.        Trial rights. Defendant has the right to persist in a plea of not
guilty to the charges against him, and if he does, he would have the right to a public

and speedy trial.

                     i.          The   trial could be either a jury trial or a trial by the judge

sitting without a jury. However, in order that the trial be conducted by the judge

sitting without a jury, defendant, the government, and the judge all must agree that

the trial be conducted by the judge without            a   jury.

                    ii.          If the trial is a jury trial, the jury would be composed of
twelve citizens from the district, selected at random. Defendant and his attorney

would participate         in   choosing   the jury by requesting that the Court           remove

prospective jurors for cause where actual bias or other disqualification is shown, or

by removing prospective jurors without cause by exercising peremptory challenges.

                    iii.         If the trial is a jury trial, the jury would be instructed that

defendant is presumed innocent, that the government has the burden of proving

defendant guilty beyond a reasonable doubt, and that the jury could not convict him

unless, after hearing          all the   evidence,   it    was persuaded of his guilt beyond    a

reasonable doubt and that it was to consider each count of the information separately.

The jury would have to agree unanimously as to each count before               it   could return a

verdict of guilty or not guilty as to that count.


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                   iv.      If the trial is held by the judge without a jury, the judge
would find the facts and determine, after hearing all the evidence, and considering

each count separately, whether or not the judge was persuaded that the government

had established defendant's guilt beyond a reasonable doubt.

                    v.      At a trial, whether by a jury or a judge, the government
would be required to present its witnesses and other evidence against defendant.

Defendant would be able to confront those government witnesses and his attorney

would be able to cross-examine them.

                   vi.      At a trial, defendant could present witnesses and other
evidence   in his own behalf. If the witnesses for defendant would not appear
voluntarily, he could require their attendance through the subpoena power of the

Court. A defendant is not required to present any evidence.

                   vii.     At a trial, defendant would have a privilege against     self-

incrimination so that he could decline to testifu, and no inference of guilt could be

drawn from his refusal to testify. If defendant desired to do so, he could testifir in his

own behalf.

              c.      With respect to forfeiture, defendant understands that if the case

were tried before a jury, he would have a right to retain the jury to determine whether

the government had established the requisite nexus between defendant's offense and

any specific property alleged to be subject to forfeiture.




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                  d.    Waiver of appellate and collateral rights. Defendant further

understands he is waiving all appellate issues that might have been available           if   he

had exercised his right to trial. Defendant is aware that Title 28, United States Code,

Section 1,291, and Title 18, United States Code, Section      37   42, afford a defendant the

right to appeal his conviction and the sentence imposed. Acknowledging this, if the

government makes a motion at sentencing for a downward departure pursuant to

Guideline     S   5K1.1, defendant knowingly waives the right to appeal his conviction,

any pre-trial rulings by the Court, and any part of the sentence (or the manner in

which that sentence was determined.), including any term of imprisonment and fine

within the maximums provided by law, and including any order of restitution or
forfeiture,   in    exchange   for the   concessions made   by the United States in this
Agreement.        In addition, if the government   makes a motion at sentencing for a

downward departure pursuant to Guideline $ 5K1.1, defendant also wai.ves his right

to challenge his conviction and sentence, and the manner in which the sentence was

determined, in any collateral attack or future challenge, including but not limited to

a motion brought under Title 28, United States Code, Section 2255. The waiver in

this paragraph does not apply to a claim of involuntariness or ineffective assistance

of counsel, nor does     it prohibit defendant from seeking a reduction of sentence    based

directly on a change in the law that is applicable to defendant and that, prior to the

fiIing of defendant's request for relief, has been expressly made retroactive by an Act

of Congress, the Supreme Court, or the United States Sentencing Commission.
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      38.      Defendant understands that by pleading guilty he is waiving     all the

rights set forth in the prior paragraphs. Defendant's attorney has explained those

rights to him, and the consequences of his waiver of those rights.

      39.      Defendant understands that he has the right to have the criminal

charges in the information brought within five years of the last of the alleged acts

constituting the specified violations. By signing this document, defendant knowingly

waives any right to have the charges in the information brought against him within

the period established by the statute of limitations. Defendant also knowingly waives

any defense or claim based upon the statute of limitations or upon the timeliness with

which the charges in the information were brought.

        Presentence Investigation Report/Post-Sentence Supervision

       40.     Defend.ant und.erstands that the United States Attorney's Office   in its

submission     to the Probation Office as part of the Pre-Sentence Report and at
sentencing shall   fully apprise the District Court and the Probation Office of the
nature, scope, and extent of defendant's conduct regarding the charges against him,

and related matters. The government     will make known all matters in aggravation
and mitigation relevant to sentencing, including the nature and extent of d"efendant's

cooperation.

      4L.      Defendant agrees to truthfully and completely execute      a Financial
Statement (with supporting documentation) prior to sentencing, to be provided to and

shared among the Court, the Probation Office, and the United States Attorneyls
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Office regarding all details of his financial circumstances, including his recent income

tax returns as specifi.ed by the probation officer. Defendant understands that
providing false or incomplete information, or refusing to provide this information,

may be used as a basis for denial of a reduction for acceptance of responsibility

pursuant to Guideline $ 3E1.1 and enhancement of his sentence for obstruction of

justice under Guideline   S   3C1.1, and may be prosecuted as a violation of   Title   18,

United States Code, Section 1001 or as a contempt of the Court.

       42. For the purpose of monitoring            defendant's compliance    with     his

obligations to pay a fi.ne and restitution during any term of supervised release or

probation to which defendant        is   sentenced, defendant   further consents to the
disclosure by the IRS to the Probation Office and the United States Attorney's Office

of   defendant's individual income          tax returns (together with      extensions,

correspondence,   and other tax information) filed subsequent to            defendant's

sentencing, to and including the final year of any period of supervised release or

probation to which defendant is sentenced. Defendant also agrees that a certified copy

of this Agreement shall be sufficient evidence of defendant's request to the IRS to

disclose the returns and return information, as provided for in Title 26, United States

Code, Section 6103(b).

                                     Other Terms

       43.   Defendant agrees to cooperate with the United States Attorney's Office

in collecting any unpaid. fine and restitution for which defendant is liable, including


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providing financial statements and supporting records as requested by the United

States Attorney's Office.

       44.   Regarding matters relating to the Internal Revenue Service, defendant

agrees as follows (nothing   in this paragraph, however, precludes defendant from
asserting any legal or factual defense to taxes, interest, and penalties that may be

assessed by the IRS):

             a.     Defendant agrees to cooperate with the Internal Revenue Service

in any tax examination or audit of defendant which directly or indirectly relates to or

arises out of the course of conduct that d.efendant has acknowledged            in   this

Agreement, by transmitting to the IRS original records or copies thereof, and any

additional books and records that the IRS may request.

             b.     Defendant    will not object to a motion brought by the United
States Attorney's Office for the entry of an order authorizing disclosure of documents,

testimony and related investigative materials which may constitute grand jury

material, preliminary to or in connection with any judicial proceeding, pursuant to

Fed. R. Crim. P.6(e)(3)(E)(i).   In addition,   defendant   will not object to       the

government's solicitation of consent from third parties who provided records or other

materials to the grand jury pursuant to grand jury subpoenas, to turn those materials

over to the Civil Division of the United States Attorney's Office, or an appropriate

federal or state agency (including but not limited to the Internal Revenue Service),

for use in civil or administrative proceedings or investigations, rather than returning


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them to the third parties for later summons or subpoena in connection with a civil or

administrative proceeding involving, or investigation of, defendant. Nothing in this

paragraph or the preceding paragraph precludes defendant from asserting any legal

or factual defense to taxes, interest, and penalties that may be assessed by the IRS.

       45.   Defendant recognizes that pleading guilty may have consequences with

respect to his immigration status   if he is not a citizen of the United States. Under
federal Iaw, a broad range of crimes are removable offenses, including one or more

offenses to which defendant is pleading guilty. Indeed, because defendant is pleading

guilty to an offense that is an "aggravated felony" as that term is defined in Title   8,

United States Code, Section 1101(a)(a3), removal is presumptively mandatory.

Removal and other immigration consequences are            the subject of a     separate

proceeding, however, and defendant understands that no one, including his attorney

or the Court, can predict to a certainty the effect of his conviction on his immigration

status. Defendant nevertheless affirms that he wants to plead guilty regard.Iess of

any immigration     consequences    that his guilty plea may entail, even if        the

consequence is his automatic removal from the United States.

                                     Conclusion

       46.   Defendant understands that this Agreement will be filed with the Court,

will become a matter   of public record, and may be disclosed to any person.

      47.    Defendant understands that his compliance with each part of this

Agreement extends throughout the period of his sentence, and failure to abide by any


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term of the Agreement is a violation of the Agreement. Defendant further
understands that     in the event he violates this Agreement, the government, at its
option, may move to vacate the Agreement, rendering      it nuII and void,   and thereaft,er

prosecute defendant not subject to any of the limits set forth in this Agreement, or

may move to resentence defendant or require defendant's specific performance of this

Agreement. Defendant understands and agrees that          in the event that the Court
permits defendant to withdraw from this Agreement, or defendant breaches any of

its terms and the government elects to void the Agreement and prosecute defendant,

any prosecutions that are not time-barred by the applicable statute of limitations on

the date of the signing of this Agreement may be commenced against defendant in

accordance   with this paragraph, notwithstanding the expiration of the statute of

limitations between the signing of this Agreement and the commencement of such

prosecutions.

       48.      Defend.ant and his attorney acknowledge that no threats, promises, or

representations have been made, nor agreements reached, other than those set forth

in this Agreement, to cause defendant to plead guilty.

      49.       Defendant acknowledges that he has read this Agreement and carefully

reviewed each provision with his attorney. Defendant further acknowledges that he




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understands and voluntarily accepts each and every term and condition of this

Agreement.


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                                                il4/y/V@
JOHN R. I,AUSCH, JR.                           ROBERT W. WAKSMUNDZKI
                                               Defendant


SEAN K. DRISCOLL                               STEVEN R. HUNTER
Assistant U.S. Attorney                        Attorney for Defendant




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